 Case 2:20-cv-11423-GW-AS Document 12 Filed 01/28/21 Page 1 of 1 Page ID #:37




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 7                                  UNITED STATES DISTRICT COURT
 8                                 CENTRAL DISTRICT OF CALIFORNIA

 9   NEHEMIAH KONG,                             ) Case No.: CV 20‐11423‐GW‐ASx
                                                )
10                    Plaintiff,                ) ORDER
                                                )
11          v.                                  )
                                                )
12   YEAGER FAMILY LIMITED                      )
     PARTNERSHIP, a California Limited          )
13   Partnership; and Does 1‐10,                )
                                                )
14                    Defendant.                )
                                                )
15
16                                               ORDER
17
18   The Court hereby vacates all currently set dates, with the expectation that the parties will file

19   a Joint Stipulation for Dismissal within 60 days. The Court sets an Order to Show re: Settlement

20   Hearing for March 29, 2021 at 8:30 a.m. The parties are advised the hearing will be vacated,

21   and no appearance will be required provided a dismissal, is filed by noon on March 25, 2021.

22
23   IT IS SO ORDERED.

24
25   Dated: January 28, 2021                   __________________________________
                                               HONORABLE GEORGE H. WU
26                                             United States District Judge
27
28


     Notice of Settlement                       ‐1‐                       2:20‐CV‐11423‐GW‐AS
